 Case: 4:10-cr-00536-HEA   Doc.Ü±½«³»²¬
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )   No. 4:10CR536 HEA
                                                )
NATASHA LYNN SPENCE,                            )
                                                )
       Defendant.                               )

                                           ORDER

       IT IS HEREBY ORDERED that a change of plea hearing is set in this matter for

Wednesday, January 12, 2011, at 3:15 p.m. in the courtroom of the undersigned.

       Dated this 15th day of December, 2010.




                                           ________________________________
                                             HENRY EDWARD AUTREY
                                           UNITED STATES DISTRICT JUDGE
